        Case 4:22-cv-00489-BRW Document 5 Filed 06/24/22 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

JESSIE HILL,                                                                   PLAINTIFF
ADC # 104136

VS.                               4:22-CV-00489-BRW

JOHN H. SPEARS, et al.                                                      DEFENDANTS


                                      JUDGMENT

      Based on the order entered today, this case is DISMISSED without prejudice.

      IT IS SO ORDERED this 24th day of June, 2022.



                                                  BILLY ROY WILSON
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                                             UNITED STATES DISTRICT JUDGE
